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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                            )
 ENZOLYTICS, INC.,                               :   C.A. NO. 1:21-CV-01599-RGA
                                                 :
                       Plaintiff,                :
                                                 :
        v.                                       :
                                                 :
 CIMARRON CAPITAL, LTD.                          :
                                                 :
                       Defendant.                :
                                            )
 ENZOLYTICS, INC.,                               :   C.A. NO. 1:21-CV-01600-RGA
                                                 :
                       Plaintiff,                :
                                                 :
        v.                                       :
                                                 :
 KONA CONCEPTS, INC.                             :
                                                 :
                       Defendant.                :

                                    JOINT STATUS REPORT

       Pursuant to the Court’s December 20, 2023, Oral Order for a joint status report (Dkt. 83),

the parties in the above-captioned matter report as follows. Fact discovery in this action is

complete, as fact discovery ended on December 15, 2023, pursuant to the revised Scheduling Order

governing these actions (Dkt. 73). The parties are proceeding as set forth in the Scheduling Order

and, at this time, do not have any issues to report to the Court. Counsel is available at the

convenience of the Court to answer any questions or concerns.

                                     Respectfully submitted,
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